                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION

                                 CRIMINAL NO. 2:04CR93-5


UNITED STATES OF AMERICA                     )
                                             )
                                             )
               VS.                           )              ORDER
                                             )
                                             )
CHADWICK LEE HIGHT                           )
                                                 )


       THIS MATTER is before the Court on the government's motion to reduce Defendant's

sentence pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

       For the reasons stated therein,

       IT IS, THEREFORE, ORDERED that the government's motion is ALLOWED, and

the Defendant's sentence is hereby reduced from a term of 144 months imprisonment to a term of

120 months imprisonment, with all other terms and conditions of the Judgment of Conviction to

remain in full force and effect. The Clerk of Court shall prepare an amended Judgment in

accordance with the terms herein.

       The Clerk is directed to mail copies of this Order to the United States Attorney, defense

counsel, the Defendant, and to the Warden of the federal correctional facility where the Defendant

is currently imprisoned.




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                       Signed: August 17, 2005




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